
New Way Medical Supply Corp., as Assignee of Kathleem Long, Appellant, 
againstState Farm Mutual Automobile Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered January 28, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint.
For the reasons stated in Metro Health Prods., Inc. v State Farm Mut. Auto. Ins. Co. (49 Misc 3d 130[A], 2015 NY Slip Op 51419[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]), the order is affirmed.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: September 15, 2016










